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               EXHIBIT 4
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                                                   UNITED STATES
                                       SECURITIES AND EXCHANGE COMMISSION
                                                                    Washington, D.C. 20549
                                                                          FORM 8-K
                                                           CURRENT REPORT
                                   Pursuant to Section 13 OR 15(d) of The Securities Exchange Act of 1934

                                                                      June 25, 2020
                                                      Date of Report (date of earliest event reported)




                                                                         NIKE, Inc.
                                                 (Exact name of registrant as specified in its charter)
                            Oregon                                              1-10635                                          XX-XXXXXXX
         (State or other jurisdiction of incorporation)               (Commission File Number)                        (I.R.S. Employer Identification No.)

                                                                     ONE BOWERMAN DRIVE
                                                                   BEAVERTON, OR 97005-6453
                                                          (Address of principal executive offices and zip code)

                                                                            (503) 671-6453
                                                          Registrant's telephone number, including area code

                                                                          NO CHANGE
                                                     (Former name or former address, if changed since last report.)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the following
provisions:

☐ Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)
☐ Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)
☐ Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))
☐ Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Securities registered pursuant to Section 12(b) of the Act:

                   Class B Common Stock                                           NKE                                     New York Stock Exchange
                     (Title of each class)                                 (Trading Symbol)                       (Name of each exchange on which registered)

Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (§230.405 of this chapter) or
Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).
                                                                                                                                   Emerging growth company ☐

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or
revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act.
                                                                                                                                                                  ☐




                                                                                                                                 Exhibit 4 - page 1
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Item 2.02 Results of Operations and Financial Condition

Today NIKE, Inc. issued a press release disclosing financial results for the fiscal quarter and full year ended May 31, 2020. The text of the release is furnished
herewith as Exhibit 99.1.

Item 9.01 Financial Statements and Exhibits

         (d) Exhibits.

The following exhibit is furnished with this Form 8-K:


         Exhibit No.                                                                              Exhibit
             99.1                                                               NIKE, Inc. Press Release dated June 25, 2020
              104                                              Cover Page Interactive Data File (embedded within the Inline XBRL document)

                                                                           SIGNATURES

        Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf by the
undersigned hereunto duly authorized.



                                                                             NIKE, Inc.
                                                                             (Registrant)


Date:   June 25, 2020                                                     By: /s/ Matthew Friend
                                                                               Matthew Friend
                                                                               Executive Vice President and Chief Financial Officer




                                                                                                                                 Exhibit 4 - page 2
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Investor Contact:                                                                                                      Media Contact:
Andy Muir                                                                                                               Mark Rhodes
(503) 473-3143                                                                                                        (503) 532-8877

                           NIKE, INC. REPORTS FISCAL 2020 FOURTH QUARTER
                                        AND FULL YEAR RESULTS

BEAVERTON, Ore., June 25, 2020 - NIKE, Inc. (NYSE:NKE) today reported financial results for its fiscal 2020 fourth quarter
and full year ended May 31, 2020.

    •   Fourth quarter reported revenues were $6.3 billion, declining from prior year as the majority of NIKE-owned and partner
        stores in North America, EMEA and APLA were closed due to the COVID-19 pandemic.
    •   NIKE digital sales increased 75 percent in the fourth quarter, or 79 percent on a currency-neutral basis*, with strong
        double-digit increases across all geographies and was approximately 30 percent of total revenue.
    •   For the fiscal year, Greater China revenues increased 8 percent, or 11 percent on a currency-neutral basis, marking its
        sixth consecutive year of double-digit currency-neutral growth despite the headwinds from COVID-19 in the second half
        of the year.

Our fourth quarter results were significantly impacted by physical store closures across North America, EMEA and APLA, where
90 percent of NIKE-owned stores were closed for roughly eight weeks in the quarter to protect the health and safety of
teammates and consumers and help slow the spread of the COVID-19 pandemic. Our wholesale partners largely followed the
same pattern and as a result, product shipments to wholesale customers were down nearly 50 percent resulting in lower total
revenue and higher inventory. During the widespread physical store closures, we accelerated our connection and engagement
with our consumers leveraging the strength of our digital ecosystem.

“In a highly dynamic environment, the NIKE Brand continues to resonate strongly with consumers all over the world as our digital
business accelerates in every market,” said John Donahoe, President and Chief Executive Officer, NIKE, Inc. “We are uniquely
positioned to grow, and now is the time to build on NIKE's strengths and distinct capabilities. We are continuing to invest in our
biggest opportunities, including a more connected digital marketplace, to extend our leadership and fuel long-term growth.”**

COVID-19 Update on Operations

As of today, approximately 90 percent of NIKE-owned stores are open across the globe. Retail traffic continues to improve week-
over-week with higher conversion rates as compared to the prior year.**

In Greater China, nearly 100 percent of NIKE-owned stores are open.

In North America, EMEA and APLA, approximately 90 percent of physical owned stores were closed during the fourth quarter
with stores gradually reopening at different paces in each country beginning in mid-May. Today, roughly 85 percent of NIKE-
owned stores are open in North America and about 90 percent in EMEA, with approximately 65 percent open in APLA or
operating under reduced hours.

“As physical retail re-opens, NIKE's strong digital trends continue, a testament to the strength of our brand and the investments
we've made to elevate digital consumer experiences,” said Matt Friend, Executive Vice President and Chief Financial Officer,
NIKE, Inc. “Amid macroeconomic uncertainty, we will continue to operate with agility, focused on optimizing marketplace supply
and demand, cost management and leveraging our financial strength to drive long-term sustainable, profitable growth.”**

As we continue to reopen retail stores and increase distribution center activity, we remain focused on prioritizing the health of our
teammates and consumers and have taken proactive steps to help ensure a safe environment. During the quarter, we made
significant investments to provide employee pay continuity and committed over $25 million to support communities impacted by
COVID-19 among other COVID-19 response efforts.

Fourth Quarter Income Statement Review

•   Revenues for NIKE, Inc. decreased 38 percent to $6.3 billion, down 36 percent on a currency-neutral basis, primarily due to
    owned and partner physical store closures across North America, EMEA and APL A due to COVID-19, partially offset by
    growth in Greater China.
•   Gross margin decreased 820 basis points to 37.3 percent as higher full-price average selling prices, despite increased
                                                                                                      Exhibit 4 - page 3
                   Case were
    wholesale discounts, 3:24-cv-00974-AN            Document
                               more than offset by higher    product68-4      Filed 05/12/25
                                                                     costs including                Pagecharges,
                                                                                     factory cancellation  5 of 11increased
    inventory obsolescence reserves and the adverse rate impact of supply chain fixed costs on lower wholesale shipments
    primarily due to COVID-19.
•   Selling and administrative expense decreased 6 percent to $3.2 billion, which included an incremental $178 million
    increase in bad debt expense. Demand creation expense was $823 million, down 19 percent to prior year as retail and brand
    marketing spend was shifted as sporting events were canceled or delayed due to COVID-19. Operating overhead expense
    decreased 1 percent to $2.4 billion driven primarily by lower total wages and travel and related expenses, partially offset by
    higher bad debt expense.
•   The effective tax rate was 1.7 percent, compared to 20.4 percent for the same period last year. This is primarily due to the
    mix of earnings taxed in the U.S. and favorability attributable to items such as the use of foreign tax credits.
•   Net loss was $790 million and diluted net loss per share was $0.51 driven by lower revenue and gross margin as a result
    of the COVID-19 impact on operations, partially offset by lower selling and administrative expenses.

Fiscal 2020 Income Statement Review

•   Revenues for NIKE, Inc. fell 4 percent to $37.4 billion, down 2 percent on a currency-neutral basis due to the impact of
    COVID-19 on business operations, primarily in the fourth quarter. In the first half of fiscal 2020, prior to COVID-19, NIKE, Inc.
    revenue was up 9 percent, or 11 percent on a currency-neutral basis, reflecting strong, broad-based consumer demand,
    higher full-price sales realization and a double-digit increase in digital sales.
    ◦ In fiscal 2020, digital sales increased 47 percent, or 49 percent on a currency-neutral basis, with all geographies growing
        strong double-digits.
    ◦ Greater China revenues increased 8 percent, or 11 percent on a currency-neutral basis, marking its sixth consecutive
        year of double-digit growth on a currency-neutral basis.
•   Gross margin decreased 130 basis points to 43.4 percent as higher full-price average selling prices, despite higher
    discounts due to COVID-19, were more than offset by higher product costs including tariffs in the U.S., as well as factory
    cancellation charges, increased inventory obsolescence reserves and the adverse rate impact of supply chain cost on a
    lower volume of wholesale shipments in the fourth quarter.
•   Selling and administrative expense increased 3 percent to $13.1 billion. Demand creation expense was $3.6 billion, down
    4 percent to prior year primarily due to lower retail, brand and sports marketing expenses as sporting events were postponed
    or canceled and a majority of physical stores were closed globally during the fourth quarter. Operating overhead expense
    increased 7 percent to $9.5 billion driven primarily by higher wage-related expenses to support our continued investments in
    end-to-end digital capabilities and higher bad debt expense, partially offset by lower travel and related spend.
•   The effective tax rate was 12.1 percent, compared to 16.1 percent for the same period last year due to increased benefits
    from discrete items such as stock-based compensation.
•   Net income was $2.5 billion and diluted earnings per share was $1.60, down 36 percent, driven by lower revenue and
    gross margin impacted by COVID-19 in the fourth quarter and higher selling and administrative expenses, partially offset by a
    lower tax rate and a lower average share count. This also includes the one-time, non-cash charge associated with the
    strategic distributor partnership transition in South America, which reduced earnings per share by $0.25.

May 31, 2020 Balance Sheet Review

•   Inventories for NIKE, Inc. were $7.4 billion, up 31 percent compared to the prior year period, primarily reflecting the impact
    of NIKE-owned store closures in North America, EMEA and APLA as well as lower wholesale shipments in the fourth quarter
    due to COVID-19.
•   Total liquidity at May 31 was $12.5 billion with robust cash and equivalents and short-term investments of $8.8 billion, $4.1
    billion higher than last year primarily due to proceeds from a $6 billion corporate bond issuance in March, partially offset by
    share repurchase activity in the first ten months of the year, cash dividends and investments in infrastructure. In addition,
    NIKE secured a new $2 billion credit facility adding to the existing credit facility of $2 billion to ensure appropriate liquidity and
    flexibility during the COVID-19 pandemic.

Shareholder Returns

NIKE has a strong track record of investing to fuel growth and consistently increasing returns to shareholders through dividends
and share repurchases including 18 consecutive years of increasing dividend payouts. In fiscal 2020, the Company returned
$4.5 billion to shareholders, including:
   • Dividends of $1.5 billion, compared with $1.3 billion in fiscal 2019, reflecting a lower share count offset by an 11 percent
        increase in the dividend per share.
   • Share repurchases totaling $3.0 billion for fiscal 2020 reflecting 33.5 million shares retired as part of the four-year, $15
        billion program approved by the Board of Directors in June 2018.

During the fourth quarter, NIKE, Inc. repurchased 1.9 million shares for approximately $159 million before suspending share
repurchase activity in March to maximize liquidity in the current dynamic environment.
                                                                                                          Exhibit 4 - page 4
As of May 31, 2020,Case    3:24-cv-00974-AN
                      a total                         Document
                              of 45.2 million shares had          68-4 forFiled
                                                         been repurchased       05/12/25$4.0 Page
                                                                            approximately    billion, 6 of 11 in approximately
                                                                                                      resulting
$11 billion in remaining capacity under the 2018 share repurchase program.

Conference Call

NIKE, Inc. management will host a conference call beginning at approximately 2:00 p.m. PT on June 25, 2020, to review fiscal
fourth quarter and full year results. The conference call will be broadcast live via webcast and can be accessed at
http://investors.nike.com. For those unable to listen to the live broadcast, an archived version will be available at the same
location through 9:00 p.m. PT, July 11, 2020.

About NIKE, Inc.

NIKE, Inc., based near Beaverton, Oregon, is the world’s leading designer, marketer and distributor of authentic athletic
footwear, apparel, equipment and accessories for a wide variety of sports and fitness activities. Converse, a wholly-owned NIKE,
Inc. subsidiary brand, designs, markets and distributes athletic lifestyle footwear, apparel and accessories. For more information,
NIKE, Inc.’s earnings releases and other financial information are available on the Internet at http://investors.nike.com.
Individuals can also visit http://news.nike.com and follow @NIKE.

*    See additional information in the accompanying Divisional Revenues table or the Supplemental NIKE Brand Revenue table regarding this non-GAAP financial measure.
**   The marked paragraph contains forward-looking statements that involve risks and uncertainties that could cause actual results to differ materially. These risks and
     uncertainties are detailed from time to time in reports filed by NIKE with the U.S. Securities and Exchange Commission (SEC), including Forms 8-K, 10-Q and 10-K.


                                                                          (Tables Follow)




                                                                                                                                   Exhibit 4 - page 5
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                                                             NIKE, Inc.
                                              CONSOLIDATED STATEMENTS OF INCOME
                                                                (Unaudited)


                                                         THREE MONTHS ENDED               %           TWELVE MONTHS ENDED               %
(In millions, except per share data)                    5/31/2020         5/31/2019     Change        5/31/2020         5/31/2019     Change
Revenues                                            $        6,313    $       10,184      -38 %   $       37,403    $       39,117      -4 %
Cost of sales                                                3,960             5,551      -29 %           21,162            21,643      -2 %
Gross profit                                                 2,353             4,633      -49 %           16,241            17,474      -7 %
 Gross margin                                                 37.3%             45.5%                       43.4%             44.7%


Demand creation expense                                       823              1,014      -19 %            3,592             3,753       -4 %
Operating overhead expense                                   2,368             2,392       -1 %            9,534             8,949       7%
Total selling and administrative expense                     3,191             3,406       -6 %           13,126            12,702       3%
  % of revenues                                               50.5%             33.4%                       35.1%             32.5%


Interest expense (income), net                                 50                 12      —                   89                49      —
Other (income) expense, net                                    (84)              (28)     —                 139                (78)     —
(Loss) income before income taxes                             (804)            1,243     -165 %            2,887             4,801      -40 %
Income tax (benefit) expense                                   (14)              254     -106 %             348               772       -55 %
  Effective tax rate                                           1.7%             20.4%                       12.1%             16.1%


NET (LOSS) INCOME                                   $         (790)   $          989     -180 %   $        2,539    $        4,029      -37 %


(Loss) earnings per common share:
  Basic                                             $        (0.51)   $         0.63     -181 %   $         1.63    $         2.55      -36 %
  Diluted                                           $        (0.51)   $         0.62     -182 %   $         1.60    $         2.49      -36 %


Weighted average common shares outstanding:
  Basic                                                    1,555.7            1,570.2                    1,558.8           1,579.7
  Diluted                                                  1,555.7            1,607.5                    1,591.6           1,618.4


Dividends declared per common share                 $        0.245    $         0.22              $        0.955    $         0.86




                                                                                                              Exhibit 4 - page 6
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                                                            NIKE, Inc.
                                                   CONSOLIDATED BALANCE SHEETS
                                                             (Unaudited)


                                                                                       May 31,             May 31,
(Dollars in millions)                                                                   2020                2019            % Change
ASSETS
Current assets:
  Cash and equivalents                                                             $         8,348 $            4,466            87 %
  Short-term investments                                                                         439                 197        123 %
  Accounts receivable, net                                                                   2,749              4,272           -36 %
  Inventories                                                                                7,367              5,622            31 %
  Prepaid expenses and other current assets                                                  1,653              1,968           -16 %
Total current assets                                                                        20,556             16,525            24 %
  Property, plant and equipment, net                                                         4,866              4,744             3%
  Operating lease right-of-use assets, net                                                   3,097                    —          —
  Identifiable intangible assets, net                                                            274                 283         -3 %
  Goodwill                                                                                       223                 154         45 %
  Deferred income taxes and other assets                                                     2,326              2,011            16 %
TOTAL ASSETS                                                                       $        31,342 $           23,717            32 %
LIABILITIES AND SHAREHOLDERS’ EQUITY
Current liabilities:
  Current portion of long-term debt                                                $               3 $                 6        -50 %
  Notes payable                                                                                  248                   9      2,656 %
  Accounts payable                                                                           2,248              2,612           -14 %
  Current portion of operating lease liabilities                                                 445                  —          —
  Accrued liabilities                                                                        5,184              5,010             3%
  Income taxes payable                                                                           156                 229        -32 %
Total current liabilities                                                                    8,284              7,866             5%
  Long-term debt                                                                             9,406              3,464           172 %
  Operating lease liabilities                                                                2,913                    —          —
  Deferred income taxes and other liabilities                                                2,684              3,347           -20 %
  Redeemable preferred stock                                                                      —                   —          —
  Shareholders’ equity                                                                       8,055              9,040           -11 %
TOTAL LIABILITIES AND SHAREHOLDERS’ EQUITY                                         $        31,342 $           23,717            32 %




                                                                                                       Exhibit 4 - page 7
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                                                                        NIKE, Inc.
                                                                DIVISIONAL REVENUES
                                                                          (Unaudited)


                                                                                 % Change                                                        % Change
                                    THREE MONTHS ENDED              %            Excluding       TWELVE MONTHS ENDED                %            Excluding
                                                                                 Currency                                                        Currency
(Dollars in millions)               5/31/2020     5/31/2019      Change          Changes1           5/31/2020     5/31/2019      Change          Changes1
North America
   Footwear                     $       1,606 $        2,736        -41 %               -41 %   $       9,329 $       10,045          -7 %              -7 %
   Apparel                                563          1,275        -56 %               -56 %           4,639          5,260        -12 %              -12 %
   Equipment                               61            154        -60 %               -60 %             516            597        -14 %              -14 %
       Total                            2,230          4,165        -46 %               -46 %          14,484         15,902          -9 %              -9 %
Europe, Middle East & Africa
   Footwear                               887          1,643        -46 %               -44 %           5,892          6,293          -6 %              -3 %
   Apparel                                398            713        -44 %               -42 %           3,053          3,087          -1 %              2%
   Equipment                               43            101        -57 %               -55 %             402            432          -7 %              -3 %
       Total                            1,328          2,457        -46 %               -44 %           9,347          9,812          -5 %              -1 %
Greater China
   Footwear                             1,149          1,167          -2 %               3%             4,635          4,262          9%               12 %
   Apparel                                468            494          -5 %               -1 %           1,896          1,808          5%                8%
   Equipment                               30             36        -17 %                -9 %             148            138          7%               11 %
       Total                            1,647          1,697          -3 %               1%             6,679          6,208          8%               11 %
Asia Pacific & Latin America
   Footwear                               559            953        -41 %               -38 %           3,449          3,622          -5 %              0%
   Apparel                                211            363        -42 %               -38 %           1,365          1,395          -2 %              3%
   Equipment                               31             63        -51 %               -47 %             214            237        -10 %               -4 %
       Total                              801          1,379        -42 %               -39 %           5,028          5,254          -4 %              1%
Global Brand Divisions2                     6              9        -33 %               -27 %              30             42        -29 %              -26 %
TOTAL NIKE BRAND                        6,012          9,707        -38 %               -36 %          35,568         37,218          -4 %              -2 %
Converse                                  305            491        -38 %               -36 %           1,846          1,906          -3 %              -1 %
Corporate3                                  (4)          (14)        —                  —                  (11)            (7)       —                 —
TOTAL NIKE, INC.
REVENUES                        $       6,313 $       10,184        -38 %               -36 %   $      37,403 $       39,117          -4 %              -2 %


TOTAL NIKE BRAND
   Footwear                     $       4,201 $        6,499        -35 %               -34 %   $      23,305 $       24,222          -4 %              -2 %
   Apparel                              1,640          2,845        -42 %               -41 %          10,953         11,550          -5 %              -3 %
   Equipment                              165            354        -53 %               -51 %           1,280          1,404          -9 %              -6 %
   Global Brand Divisions2                  6              9        -33 %               -27 %              30             42        -29 %              -26 %
TOTAL NIKE BRAND
REVENUES                        $       6,012 $        9,707        -38 %               -36 %   $      35,568 $       37,218          -4 %              -2 %
1 The percent change has been calculated using actual exchange rates in use during the comparative prior year period to enhance the visibility of the underlying

business trends by excluding the impact of translation arising from foreign currency exchange rate fluctuations, which is considered a non-GAAP financial
measure.
2 Global Brand Divisions revenues are primarily attributable to NIKE Brand licensing businesses that are not part of a geographic operating segment.

3 Corporate revenues consist primarily of foreign currency hedge gains and losses related to revenues generated by entities within the NIKE Brand geographic

operating segments and Converse but managed through the Company’s central foreign exchange risk management program.




                                                                                                                           Exhibit 4 - page 8
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                                                                           NIKE, Inc.
                                              SUPPLEMENTAL NIKE BRAND REVENUE DETAILS
                                                                              (Unaudited)

                                                                                                                                                   % Change
                                                                                                                                                   Excluding
                                                                                              TWELVE MONTHS ENDED                      %           Currency
(Dollars in millions)                                                                         5/31/2020         5/31/2019           Change         Changes1
NIKE Brand Revenues by:
     Sales to Wholesale Customers                                                        $          23,156 $         25,423                 -9 %         -7 %
     Sales through NIKE Direct                                                                      12,382           11,753                 5%              8%
     Global Brand Divisions2                                                                              30                42             -29 %        -26 %
TOTAL NIKE BRAND REVENUES                                                                $          35,568 $         37,218                 -4 %         -2 %


NIKE Brand Revenues on a Wholesale Equivalent Basis:3
     Sales to Wholesale Customers                                                        $          23,156 $         25,423                 -9 %         -7 %
     Sales from our Wholesale Operations to NIKE Direct Operations                                   7,452            7,127                 5%              7%
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                           $          30,608 $         32,550                 -6 %         -4 %


NIKE Brand Wholesale Equivalent Revenues by:3
     Men’s                                                                               $          16,694 $         17,737                 -6 %         -4 %
     Women’s                                                                                         6,999            7,380                 -5 %         -3 %
     NIKE Kids’                                                                                      5,033            5,283                 -5 %         -3 %
     Others4                                                                                         1,882            2,150                -12 %        -10 %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                           $          30,608 $         32,550                 -6 %         -4 %


NIKE Brand Wholesale Equivalent Revenues by:3
     Running                                                                             $           3,830 $          4,488                -15 %        -12 %
     NIKE Basketball                                                                                 1,508            1,597                 -6 %         -4 %
     Jordan Brand                                                                                    3,609            3,138                15 %          16 %
     Football (Soccer)                                                                               1,575            1,894                -17 %        -14 %
     Training                                                                                        2,688            3,137                -14 %        -13 %
     Sportswear                                                                                     12,285           12,442                 -1 %            1%
     Others5                                                                                         5,113            5,854                -13 %        -10 %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                           $          30,608 $         32,550                 -6 %         -4 %
1 The percent change has been calculated using actual exchange rates in use during the comparative prior year period to enhance the visibility of the underlying

business trends by excluding the impact of translation arising from foreign currency exchange rate fluctuations, which is considered a non-GAAP financial
measure.
2 Global Brand Divisions revenues are primarily attributable to NIKE Brand licensing businesses that are not part of a geographic operating segment.

3 References to NIKE Brand wholesale equivalent revenues, which are considered non-GAAP financial measures, are intended to provide context as to the total

size of the Company’s NIKE Brand market footprint if it had no NIKE Direct operations. NIKE Brand wholesale equivalent revenues consist of 1) sales to
external wholesale customers and 2) internal sales from the Company’s wholesale operations to its NIKE Direct operations which are charged at prices that are
comparable to prices charged to external wholesale customers.
4 Others include all unisex products, equipment and other products not allocated to Men’s, Women’s and NIKE Kids’, as well as certain adjustments that are not

allocated to products designated by gender or age.
5
    Others include all other categories and certain adjustments that are not allocated at the category level.




                                                                                                                                 Exhibit 4 - page 9
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                                                                           NIKE, Inc.
                                                 EARNINGS BEFORE INTEREST AND TAXES1
                                                                             (Unaudited)


                                                                       THREE MONTHS ENDED                  %          TWELVE MONTHS ENDED                  %
(Dollars in millions)                                                     5/31/2020      5/31/2019      Change            5/31/2020     5/31/2019       Change
North America                                                         $         (13) $       1,048         -101 %     $       2,899 $       3,925           -26 %
Europe, Middle East & Africa                                                   (153)           506         -130 %             1,541         1,995           -23 %
Greater China                                                                   571            674           -15 %            2,490         2,376              5%
Asia Pacific & Latin America                                                     79            340           -77 %            1,184         1,323           -11 %
Global Brand Divisions2                                                        (844)          (830)            -2 %          (3,468)       (3,262)             -6 %
TOTAL NIKE BRAND1                                                              (360)         1,738         -121 %             4,646         6,357           -27 %
Converse                                                                        (27)            82         -133 %               297           303              -2 %
Corporate   3                                                                  (367)          (565)            35 %          (1,967)       (1,810)             -9 %
TOTAL NIKE, INC. (LOSS) EARNINGS BEFORE INTEREST
AND TAXES1                                                                     (754)         1,255         -160 %             2,976         4,850           -39 %
Interest expense (income), net                                                   50             12             —                 89            49              —
TOTAL NIKE, INC. (LOSS) INCOME BEFORE INCOME TAXES                    $        (804) $       1,243         -165 %     $       2,887 $       4,801           -40 %
1
 The Company evaluates the performance of individual operating segments based on earnings before interest and taxes (commonly referred to as “EBIT”),
which represents net income before interest expense (income), net and income tax expense. Total NIKE Brand EBIT and Total NIKE, Inc. EBIT are considered
non-GAAP financial measures and are being provided as management believes this additional information should be considered when assessing the
Company's underlying business performance and trends. References to EBIT should not be considered in isolation or as a substitute for other financial
measures calculated and presented in accordance with U.S. GAAP and may not be comparable to similarly titled non-GAAP measures used by other
companies.
2 Global Brand Divisions primarily represent demand creation, operating overhead and product creation and design expenses that are centrally managed for the

NIKE Brand. Revenues for Global Brand Divisions are primarily attributable to NIKE Brand licensing businesses that are not part of a geographic operating
segment.
3 Corporate consists primarily of unallocated general and administrative expenses, including expenses associated with centrally managed departments;

depreciation and amortization related to the Company’s corporate headquarters; unallocated insurance, benefit and compensation programs, including stock-
based compensation; and certain foreign currency gains and losses, including certain hedge gains and losses. Corporate includes the non-recurring charge,
recognized in fiscal 2020, as a result of the Company’s decision to transition its operations in Brazil, Argentina, Chile and Uruguay to third-party distributors.
This charge primarily reflects the anticipated release of associated non-cash cumulative foreign currency translation losses.




                                                                                                                               Exhibit 4 - page 10
